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 9                       UNITED STATES DISTRICT COURT
10                      EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA
                                            NO. CR. S-09-407 KJM
14             Plaintiff,
15        v.                                ORDER
16   ARCEO-RANGEL, et al.,
17             Defendants.
18                                ----oo0oo----
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          This matter comes before the court on the motion of
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     plaintiff, United States of America for an order by United States
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     District Judge Frank C. Damrell, Jr. clarifying three previous
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     orders excluding time under the speedy trial act.         The United
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     States noticed and filed this motion on the calendar of United
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     States District Judge Kimberly J. Mueller.        The United States
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     also emailed the relevant documents to the court room deputy for
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     the undersigned at fcdorders@caed.uscourts.gov, including a
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     proposed order granting the United State’s motion.
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              Case 2:09-cr-00407-KJM Document 223 Filed 12/01/11 Page 2 of 3


 1        The local rules for the Eastern District of California
 2   governing criminal motions and procedures provide that “all
 3   motions shall be noticed on the motion calendar of the assigned
 4   Judge or Magistrate Judge as may be appointed.”            E.D. Cal. L.R.
 5   430.1(c).     Moreover, “[t]he Eastern District of California is an
 6   electronic case manage/filing district (CM/ECF).”            E.D. Cal. L.R.
 7   133(a).     Thus, attorneys shall file all documents electronically
 8   pursuant to those Rules.”        Id.   Finally, “[e]mailing a document
 9   to the Clerk or to the Court (as opposed to electronic filing in
10   CM/ECF) shall not constitute ‘filing’ of the document.”             E.D.
11   Cal. L.R. 134(a).1
12        The motion of the United States and the accompanying
13   proposed order are procedurally improper as violative of the
14   local rules.      First, the motion was not noticed on the
15   undersigned’s motion calendar, but rather on the docket for Judge
16   Mueller, to whom this matter has been reassigned.            Moreover, the
17   undersigned cannot consider the proposed order because, as stated
18   above, the email sent to fcdorders@caed.uscourts.gov containing
19   the motion and the proposed order does not constitute a “filing”
20   of the documents pursuant to the local rules.
21                                     CONCLUSION
22        For the foregoing reasons, the motion of the United States
23   is DENIED.
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               The court notes that, pursuant to local rule 133(a),
     the court has the discretion to “excuse” the requirement that all
26   attorneys file documents electronically pursuant to the
     electronic case filing/management procedures as set forth in the
27   local rules. However, the court declines to exercise such
     discretion in this instance given the government’s delay in
28   filing the pending motion.

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 1   IT IS SO ORDERED.
 2   DATED: December 1, 2011
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                                       FRANK C. DAMRELL, JR.
 4                                     UNITED STATES DISTRICT JUDGE
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